
7 N.Y.2d 1032 (1960)
Alicia L. Sherman, Appellant,
v.
Leonard Sherman, Respondent.
Court of Appeals of the State of New York.
Argued February 29, 1960.
Decided March 31, 1960.
Paul Englander for appellant.
Irving Moldauer and Daniel Cohen for respondent.
Concur: Judges DYE, FROESSEL, VAN VOORHIS and FOSTER. Dissent: Chief Judge DESMOND and Judges FULD and BURKE.
Judgment affirmed, without costs; no opinion.
Chief Judge DESMOND and Judges FULD and BURKE dissent from so much of the judgment as grants defendant a separation on his counterclaims and vote to reverse the judgment to that extent and to dismiss defendant's counterclaims upon the ground that the record fails to establish cruel and inhuman treatment of defendant by plaintiff. (See, e.g., Russ v. Russ, 4 N Y 2d 743, affg. 3 A D 2d 888.)
